Case 1:01-cv-12257-PBS Document 4896-4 Filed 11/20/07 Page 1 of 1

Case 1:01-cv-12257-PBS = Document 4880-2 Filed 11/08/2007 Page 13 of 13

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

IN RE PHARMACEUTICAL INDUSTRY }
AVERAGE WHOLESALE PRICE LITIGATION ) MDLNo. 1456

)

THIS DOCUMENT RELATES TO ) Civil Action No. 01-CV-12237 PBS

~CV-12257- -CV- )
01-C¥-12257-PBS AND 01-C¥-339 ) Judge Patti B. Saris

)

Judgment

IT IS ADJUDGED AND DECREED THAT:

Judgment is entered in favor of Johnson & Johnson, Centocor, Inc. and Ortho
Biotech Products, L.P. and against Class 1, Class 2 and Class 3.

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Dated: November & 007 NN "Cu A NDS SG ALO

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